                Case 22-11068-JTD              Doc 1435         Filed 05/04/23         Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Ref. No. 1359


                              NOTICE OF REVISED PROPOSED ORDER

                PLEASE TAKE NOTICE that on April 26, 2023, FTX Trading Ltd. and its
affiliated debtors and debtors-in-possession (the “Debtors”) filed the Motion of Debtors for Entry
of an Order Authorizing Implementation of a Key Employee Incentive Plan [D.I. 1359] (the “KEIP
Motion”) in the United States Bankruptcy Court for the District of Delaware (the “Court”).

               PLEASE TAKE FURTHER NOTICE that the Debtors have revised the proposed
form of order attached to the KEIP Motion (the “Revised KEIP Order”), a copy of which is
attached hereto as Exhibit A. A copy of the Revised KEIP Order compared against the proposed
form of order attached to the KEIP Motion is attached hereto as Exhibit B. A copy of the revised
operative paragraphs of the KEIP Motion that contain the KEIP terms, as referenced in the Revised
KEIP Order, compared against the prior language originally included in the KEIP Motion is
attached hereto as Exhibit C.

                PLEASE TAKE FURTHER NOTICE that a copy of the KEIP Motion may be
obtained from the Court’s website, https://ecf.deb.uscourts.gov/, for a nominal fee, or obtained
free of charge by accessing the website of the Debtors’ claims and noticing agent at
https://restructuring.ra.kroll.com/FTX/.




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



{1368.002-W0070760.2}
                Case 22-11068-JTD   Doc 1435   Filed 05/04/23    Page 2 of 2




Dated: May 4, 2023                     LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                       /s/ Matthew R. Pierce
                                       Adam G. Landis (No. 3407)
                                       Kimberly A. Brown (No. 5138)
                                       Matthew R. Pierce (No. 5946)
                                       919 Market Street, Suite 1800
                                       Wilmington, Delaware 19801
                                       Telephone: (302) 467-4400
                                       Facsimile: (302) 467-4450
                                       E-mail: landis@lrclaw.com
                                               brown@lrclaw.com
                                               pierce@lrclaw.com

                                       -and-

                                       SULLIVAN & CROMWELL LLP
                                       Andrew G. Dietderich (admitted pro hac vice)
                                       James L. Bromley (admitted pro hac vice)
                                       Brian D. Glueckstein (admitted pro hac vice)
                                       Alexa J. Kranzley (admitted pro hac vice)
                                       125 Broad Street
                                       New York, NY 10004
                                       Telephone: (212) 558-4000
                                       Facsimile: (212) 558-3588
                                       E-mail: dietdericha@sullcrom.com
                                               bromleyj@sullcrom.com
                                               gluecksteinb@sullcrom.com
                                               kranzleya@sullcrom.com


                                       Counsel for the Debtors and Debtors-in-Possession




{1368.002-W0070760.2}                  -2-
